                    Case 2:24-cv-00254-AN    Document 8    Filed 04/16/24    Page 1 of 6
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                      Page 5 of 6   Filed 04/16/24   Document 8    Case 2:24-cv-00254-AN
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